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                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                             Case No. 20-cr-02990-JAH

                                          Plaintiff,
                        vs.
                                                             JUDGMENT OF DISMISSAL
Kimberly Shantel Paniagua Ramirez,


                                        Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
☐
      granted the motion of the Government for dismissal of this case, without prejudice; or
☐     the Court has dismissed the case for unnecessary delay; or

☒     the Court has granted the motion of the Government for dismissal, without prejudice; or

☐     the Court has granted the motion of the defendant for a judgment of acquittal; or

☐     a jury has been waived, and the Court has found the defendant not guilty; or

☐     the jury has returned its verdict, finding the defendant not guilty;

☒     of the offense(s) as charged in the Information:
      21:952, 960 - Importation of Methamphetamine (Felony)(1)




Dated: 11/12/2021
                                                       Hon. John A. Houston
                                                       United States District Judge
